 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 1 of 51 Page ID #:1



1    Robert S. Green (State Bar No. 136183)
     James Robert Noblin (State Bar No. 114442)
2    Emrah M. Sumer (State Bar No. 329181)
3    GREEN & NOBLIN, P.C.
     2200 Larkspur Landing Circle, Suite 101
4    Larkspur, California 94939
5    Telephone: (415) 477-6700
     Facsimile: (415) 477-6710
6    Email: gnecf@classcounsel.com
7    Counsel for Plaintiff and the Proposed Class,
8    ANASTASIYA KISIL, mother and natural guardian
     of “JOHN DOE,” an infant, individually and on behalf
9    of others similarly situated
10
11                            UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA

13     -------------------------------------------------
14     ANASTASIYA KISIL, mother and                      Civil Action No.:
       natural guardian of “JOHN DOE,” an
15     infant, individually and on behalf of             CLASS ACTION
16     others similarly situated,                        COMPLAINT
17
18                                   Plaintiff,
19            -against-
20
21     ILLUMINATE EDUCATION, INC.
22     d/b/a PUPIL PATH,
23                                    Defendant.
24     -------------------------------------------------
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                                       CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 2 of 51 Page ID #:2



1          Plaintiff ANASTASIYA KISIL, mother and natural guardian of “JOHN DOE,”
2    an infant (“Plaintiff”), individually and on behalf of all others similarly situated (the
3    “Class” or “Class members”), brings this Class Action Complaint against Illuminate
4    Education, Inc. d/b/a Pupil Path (“Illuminate” or “Defendant”), based on her
5    individual experiences and personal information, and investigation by her counsel.
6                                       INTRODUCTION
7          1.     Plaintiff, individually and on behalf of all others similarly situated, brings
8    this class action suit against Defendant because of Defendant’s failure to safeguard the
9    confidential information of over two million current and former elementary and high
10   school students in school districts in New York City and elsewhere in the State of
11   New York, and in the States of California, Connecticut, and Oklahoma. The full
12   extent of the confidential information stolen is still uncertain but is currently known to
13   include highly sensitive personal and medical identifying information such as names,
14   addresses, demographic information, grades, academic and behavioral records, test
15   results, enrollment date, disability accommodation information, free or reduced-priced
16   lunch status, language preference, attendance records, physical performance records,
17   biometrics, and medical data. (the “Data Breach”).
18         2.     Illuminate maintains a nationwide internet platform that stores and
19   assesses data concerning students in grades K-12 on a contract basis to school districts
20   nationwide, with access provided to educators, students and parents as an aid to
21   educational evaluation, monitoring of progress, and determining an educational plan
22   (as well as information concerning educators), headquartered in Irvine, California. It
23   also provides educational software applications and technology support to the school
24   districts. With data stored regarding at least seventeen million students nationwide,
25   Illuminate collects a significant amount of sensitive data from current and former
26   students, as delineated above.
27         3.     On or about January 8, 2022, Illuminate became aware of “suspicious
28   access” to its systems that had occurred between on or about December 28, 2021, and
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                                    CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 3 of 51 Page ID #:3



1    January 8, 2022, where unauthorized parties obtained the personally identifiable
2    information (“PII”) and protected health information (“PHI”) of current and former
3    students in school districts throughout the country (collectively, “Private
4    Information”). However, it was not until or about March 25, 2022, and in some cases
5    later than that, Illuminate began to notify school districts of the Data Breach, first
6    doing so by notifying the New York City Department of Education. As yet, Illuminate
7    has still failed to directly notify students and their parents of the Data Breach.
8          4.     The Private Information that was compromised in the Data Breach can be
9    used to gain unlawful access to other online accounts of the students and their parents,
10   carry out identity theft, or commit other fraud and can be disseminated on the internet,
11   available to those who broker and traffic in stolen Private Information.
12         5.     The illegal access to Private Information of minors is particularly
13   nefarious, as awareness of such access is typically delayed for a much longer period of
14   time in the case of children as opposed to adults, giving perpetrators more time to use
15   the Private Information for illegal purposes before detection.
16         6.     While the sophistication of the methods employed in effectuating the
17   Data Breach is not publicly known, it is certain that the Data Breach could have been
18   avoided through basic security measures, encrypting, authentications, and training.
19         7.     At all relevant times, Defendant promised and agreed in various
20   documents to safeguard and protect Private Information in accordance with federal,
21   state, and local laws, and industry standards, including the California Consumer
22   Privacy Act. Defendant made these promises and agreements on their websites and
23   other written notices and extended this commitment to situations in which third parties
24   handled Private Information on their behalf.
25         8.     Contrary to these promises, and despite the fact that the threat of a data
26   breach has been a well-known risk to Defendant, especially due to the valuable and
27   sensitive nature of the data Defendant collects, stores and maintains, Defendant failed
28   to take reasonable steps to adequately protect the Private Information of current and
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                                    CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 4 of 51 Page ID #:4



1    former students and educators. The Data Breach was a direct result of Defendant’s
2    failure to implement adequate and reasonable cyber-security procedures and protocols
3    necessary to protect Private Information.
4          9.     As a result of Defendant’s failure to take reasonable steps to adequately
5    protect the Private Information of current and former students and educators,
6    Plaintiff’s and Class members’ Private Information is now on the internet for anyone
7    and everyone to acquire, access, and use for unauthorized purposes for the foreseeable
8    future.
9          10.    Defendant’s failure to implement and follow basic security procedures
10   has resulted in ongoing harm to Plaintiff and Class members who will continue to
11   experience a lack of data security for the indefinite future and remain at serious risk of
12   identity theft and fraud that would result in significant monetary loss and loss of
13   privacy.
14         11.    Accordingly, Plaintiff seeks to recover damages and other relief resulting
15   from the Data Breach, including but not limited to, compensatory damages,
16   reimbursement of costs that Plaintiff and others similarly situated will be forced to
17   bear, and declaratory judgment and injunctive relief to mitigate future harms that are
18   certain to occur in light of the scope of this breach.
19                               JURISDICTION AND VENUE
20         12.    This Court has subject matter jurisdiction pursuant to the Class Action
21   Fairness Act of 2005, 28 U.S.C. § 1332(d), because the aggregate amount in
22   controversy exceeds $5 million, exclusive of interest and costs; the number of
23   members of the proposed Class exceeds 100, and diversity exists because Plaintiff and
24   Defendant are citizens of different states. Subject matter jurisdiction is also based
25   upon the Federal Trade Commission Act (“FTCA”) and the Federal Education Rights
26   and Privacy Act (“FERPA”). This Court also has supplemental jurisdiction over the
27   state law claims pursuant to 28 U.S.C. § 1367.
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                                    CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 5 of 51 Page ID #:5



1          13.    This Court has personal jurisdiction over Defendant as they conduct
2    substantial business in this State and in this District and/or the conduct complained of
3    occurred in and/or emanated from this State and District because the Private
4    Information compromised in the Data Breach was likely stored and/or maintained in
5    accordance with practices emanating from this District. Defendant is also
6    headquartered in this District.
7          14.    Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part
8    of the events or omissions giving rise to the conduct alleged in this Complaint
9    occurred in, were directed to, and/or emanated from this District, and because
10   Defendant resides within this District.
11                                        THE PARTIES
12         15.    Plaintiff Anastasiya Kisil, mother and natural guardian of “John Doe,” an
13   infant, is a student enrolled in the New York City public school system, operated by
14   the New York City Department of Education.
15         16.    Defendant is an information technology company, a general business
16   corporation existing by virtue of the laws of the State of California, that, inter alia,
17   maintains internet platforms under numerous names, including PupilPath, that stores
18   and assesses data concerning students in grades K-12 on a contract basis to school
19   districts nationwide, with access provided to educators, students and parents as an aid
20   to educational evaluation, monitoring of progress, and determining an educational
21   plan (as well as information concerning educators), headquartered in Irvine,
22   California, and also provides educational software applications and technology
23   support to the school districts, authorized to conduct business in the State of
24   California and elsewhere, which conducts business within the State of California and
25   elsewhere and within this District, with its headquarters located in Irvine, California.
26                                FACTUAL ALLEGATIONS
27         17.    At all pertinent times, Plaintiff and Class Members were students or
28   former students at various school districts in the States of California, Colorado,
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                                    CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 6 of 51 Page ID #:6



1    Connecticut, New York, and Oklahoma, and possibly other States, whose Private
2    Information and other sensitive data were collected and stored by Defendant through
3    its PupilPath system and provided to students’ respective school districts.
4          18.    Defendant’s PupilPath system is licensed to 5,000 schools nationally and
5    has a total enrollment of approximately 17 million students.
6          19.    On or about between December 28, 2021, and January 8, 2022,
7    Defendant became aware of “suspicious access” to its systems.
8          20.    However, it was not until on or about March 25, 2022, and in some cases
9    later than that, that Defendant began to notify school districts of the Data Breach, first
10   doing so by notifying the New York City Department of Education.
11         21.    As yet, Illuminate has still failed to directly notify students and their
12   parents of the Data Breach.
13         22.    As part of Defendant’s contracts with the various and several school
14   districts, of which Plaintiff and Class Members were foreseeable third-party
15   beneficiaries, the school districts were required to agree to Defendant’s Privacy
16   Policy, Terms of Use, Payment Authorization, and Consent to Electronic Transactions
17   and Disclosures.
18         23.    Defendant promised to protect the Private Information and other data of
19   current and former students in the various and several school districts, in accordance
20   with the applicable Federal, State, and local statutes and regulations, emphasizing its
21   purported commitment to protection of Private Information and other data on its
22   website and elsewhere.
23         24.    Defendant’s website claims:
24
                  We protect your data like it’s our own. In alignment with the Family
25                Educational Rights and Privacy Act (FERPA), we deploy
26                meaningful safeguards to protect student data.

27                We pledge our unwavering commitment to student data privacy.
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                                   CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 7 of 51 Page ID #:7



1                 We aim to give educators the confidence that all your data remains
                  secure when you use our site and services.
2
3                 Whether collected directly from our Website or maintained on behalf
                  of your Educational Organization, protecting the privacy of your
4                 information is important to us. We take security measures—physical,
5                 electronic, and procedural—to help defend against the unauthorized
                  access and disclosure of your information. In addition to the
6                 restrictions discussed in this Privacy Policy, our employees are
7                 required to comply with information security safeguards, and our
                  systems are protected by technological measures to help prevent
8                 unauthorized individuals from gaining access. The specific measures
9                 Illuminate takes to secure your information are defined by the
                  contract between Illuminate and your Educational Organization.
10                These measures meet or exceed the requirements of applicable
11                federal and state law. Illuminate’s employees are trained to observe
                  and comply with applicable federal and state privacy laws in the
12                handling, processing, and storage of your information.
13
14         25.    Defendant has failed to maintain the confidentiality of Private
15   Information and other data, failed to prevent cybercriminals from access and use of
16   Private Information and other data, failed to avoid accidental loss, disclosure, or
17   unauthorized access to Private Information and other data, failed to prevent the
18   unauthorized disclosure of Private Information and other data, and failed to provide
19   security measures consistent with industry standards for the protection of PII and other
20   data, of current and former students whose data Defendant has collected and stored.
21         26.    This Data Breach was foreseeable, in light of the much-publicized wave
22   of data breaches in recent years. Since at least 2015, the Federal Bureau of
23   Investigation (“FBI”) has specifically advised private industry about the threat of
24   “Business E-Mail Compromise” (“BEC”). The FBI calls BEC “a growing financial
25   fraud that is more sophisticated than any similar scam the FBI has seen before and
26   one—in its various forms—that has resulted in actual and attempted losses of more
27   than a billion dollars to businesses worldwide.” The FBI notes that “scammers’
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                                   CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 8 of 51 Page ID #:8



1    methods are extremely sophisticated,” and warns companies that “the criminals often
2    employ malware to infiltrate company networks.”1
3          27.    Accordingly, Defendant knew, or should have known, given the vast
4    amount of Private Information and other data it collects, manages, and maintains, that
5    they were targets of security threats, and therefore understood the risks posed by
6    unsecure data security practices and systems. Defendant’s failure to heed warnings
7    and to otherwise maintain adequate security practices resulted in this Data Breach.
8          28.    Defendant, at all relevant times, had a duty to Plaintiff and Class
9    members to properly secure their Private Information and other data, encrypt and
10   maintain such information using industry standard methods, train their employees,
11   utilize available technology to defend their systems from invasion, act reasonably to
12   prevent foreseeable harm to Plaintiff and Class members, and promptly notify the
13   respective school districts, Plaintiff and Class members when Defendant became
14   aware of the potential that Plaintiff’s and Class Members’ Private Information and
15   other data may have been compromised.
16         29.    Defendant’s duty to use reasonable security measures arose as a result of
17   the special relationship that existed between Defendant, on the one hand, and Plaintiff
18   and the Class Members, on the other hand. The special relationship arose because
19   Plaintiff and the Members of the Class entrusted Defendant with their Private
20   Information and other data by virtue of being students at the respective school districts
21   with which Defendant had contracted to provide services, and by virtue of Federal,
22   State and local statutes and regulations. Defendant had the resources necessary to
23   prevent the Data Breach but neglected to adequately invest in security measures,
24   despite their obligation to protect such information. Accordingly, Defendant breached
25   their common law, statutory, and other duties owed to Plaintiff and Class Members.
26
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27    BUSINESS E-MAIL COMPROMISE: AN EMERGING GLOBAL THREAT,
     https://www.fbi.gov/news/stories/business-e-mail-compromise (last visited June 13,
28   2022).
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                                   CLASS ACTION COMPLAINT
 Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 9 of 51 Page ID #:9



1          30.    Defendant’s duty to use reasonable security measures also arose under
2    Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits
3    “unfair . . . practices in or affecting commerce,” including, as interpreted and enforced
4    by the FTC, the unfair practice of failing to use reasonable measures to protect
5    confidential data by entities such as Defendant.
6          31.    Defendant’s duty to use reasonable security measures also arose under
7    the Family Educational Rights and Privacy Act, 20 U.S.C. §1232g, which states that
8    “any data collected under this subparagraph shall be protected in a manner that will
9    not permit the personal identification of students and their parents”.
10         32.    Defendant’s duty to use reasonable security measures also arose under
11   the California Consumer Privacy Act.
12         33.    The FTC has established data security principles and practices for
13   businesses as set forth in its publication, Protecting Personal Information: A Guide for
14   Business.2 Among other things, the FTC states that companies should encrypt
15   information stored on computer networks and dispose of consumer information that is
16   no longer needed. The FTC also says to implement policies for installing vendor-
17   approved patches to correct problems, and to identify operating systems. The FTC
18   also recommends that companies understand their network’s vulnerabilities and
19   develop and implement policies to rectify security deficiencies. Further, the FTC
20   recommends that companies utilize an intrusion detection system to expose a data
21   breach as soon as it occurs; monitor all incoming traffic for activity that might indicate
22   unauthorized access into the system; monitor large amounts of data transmitted from
23   the system and have a response plan ready in the event of a data breach. The FTC
24   describes “identifying information” as “any name or number that may be used, alone
25   or in conjunction with any other information, to identify a specific person,” including,
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27   2
      https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_protecting-
28   personal-information.pdf (last visited June 13, 2022).

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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 10 of 51 Page ID #:10



1    among other things, “[n]ame, Social Security number, date of birth, official State or
2    government issued driver’s license or identification number, alien registration number,
3    government passport number, employer or taxpayer identification number.” (17
4    C.F.R. § 248.201 (2013)).
5            34.   The FTC has prosecuted a number of enforcement actions against
6    companies for failing to take measures to adequately and reasonably protect consumer
7    data. The FTC has viewed and treated such security lapses as an unfair act or practice
8    prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C.
9    § 45.
10           35.   Defendant failed to maintain reasonable data security procedures and
11   practices.
12           36.   Accordingly, Defendant did not comply with state and federal statutory
13   and regulatory requirements and industry standards, as discussed above.
14           37.   Defendant was at all times fully aware of their obligations to protect the
15   Private Information and other data of current and former students. Defendant was also
16   aware of the significant consequences that would result from its failure to do so.
17           38.   To date, Defendant may have merely offered identity monitoring to those
18   affected by the Data Breach. The offer, however, is wholly inadequate as it fails to
19   provide for the fact that victims of data breaches and other unauthorized disclosures
20   commonly face multiple years of ongoing identity theft, and it entirely fails to provide
21   any compensation for the unauthorized release and disclosure of Plaintiff’s and Class
22   Members’ Personal Information and other data.
23           39.   Furthermore, Defendant’s identity monitoring offer to Plaintiff and Class
24   Members squarely places the burden on Plaintiff and Class Members, rather than upon
25   the Defendant, to investigate and protect themselves from Defendant’s tortious acts
26   resulting in the Data Breach, rather than automatically enrolling Plaintiff and Class
27   Members in identity monitoring services upon discovery of the breach.
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 11 of 51 Page ID #:11



1          40.    As a result of the Data Breach and Defendant’s failure to provide timely
2    notice to Plaintiff and Class Members, Plaintiff and Class Members’ Private
3    Information and other data are now in the hands of unknown hackers, and Plaintiff
4    and Class Members now face an imminent, heightened, and substantial risk of identity
5    theft and other fraud, which is a concrete and particularized injury traceable to
6    Defendant’s conduct. Accordingly, Plaintiff and the Class Members have suffered
7    “injury-in-fact.” See Attias v. CareFirst, Inc., 865 F.3d 620 (D.C. Cir. 2017).
8          41.    As a direct and proximate result of Defendant’s wrongful actions and
9    inaction, Plaintiff and Class Members have suffered injury and damages, including the
10   increased risk of identity theft and identity fraud, improper disclosure of Private
11   Information and other data, the time and expense necessary to mitigate, remediate, and
12   sort out the increased risk of identity theft and to deal with governmental agencies,
13   including the various departments of education.
14                               CLASS ACTION ALLEGATIONS
15         42.    Plaintiff brings this action and seeks to certify and maintain it as a class
16   action under Federal Rules of Civil Procedure 23(a), (b)(2), (b)(3), and/or (c)(4), on
17   behalf of herself, and the following proposed Classes (collectively, the “Class”).
18         43.    The Nationwide Class is defined as follows: All individuals residing in
19   the United States whose Private Information and other data was compromised in the
20   Data Breach occurring in or about December 2021 to January 2022.
21         44.    The California Class is defined as follows: All individuals residing in
22   California whose Private Information and other data was compromised in the Data
23   Breach occurring in or about December 2021 to January 2022.
24         45.    The Colorado Class is defined as follows: All individuals residing in
25   Colorado whose Private Information and other data was compromised in the Data
26   Breach occurring in or about December 2021 to January 2022.
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 12 of 51 Page ID #:12



1          46.    The Connecticut Class is defined as follows: All individuals residing in
2    Connecticut whose Private Information and other data was compromised in the Data
3    Breach occurring in or about December 2021 to January 2022.
4          47.    The New York Class is defined as follows: All individuals residing in
5    New York whose Private Information and other data was compromised in the Data
6    Breach occurring in or about December 2021 to January 2022.
7          48.    The Oklahoma Class is defined as follows: All individuals residing in
8    Oklahoma whose Private Information and other data was compromised in the Data
9    Breach occurring in or about December 2021 to January 2022.
10         49.    Excluded from each of the above proposed Classes are: Defendant, any
11   entity in which Defendant has a controlling interest, is a parent or subsidiary, or which
12   is controlled by Defendant, as well as the officers, directors, affiliates, legal
13   representatives, heirs, predecessors, successors, and assigns of Defendant; and judicial
14   officers to whom this case is assigned and their immediate family members.
15         50.    Plaintiff reserves the right to re-define the Class definitions after
16   conducting discovery.
17         51.    Each of the proposed Classes meets the criteria for certification under
18   Rule 23(a), (b)(2), (b)(3) and/or (c)(4).
19         52.    Numerosity. Fed. R. Civ. P. 23(a)(1). Pursuant to Rule 23(a)(1), the
20   members of the Class are so numerous and geographically dispersed that the joinder
21   of all members is impractical. While the exact number of Class members is unknown
22   to Plaintiff at this time, the proposed Class includes potentially millions of individuals
23   whose Private Information and other data was compromised in the Data Breach. Class
24   members may be identified through objective means, including by and through
25   Defendant’s business records and those of the respective school districts. Class
26   members may be notified of the pendency of this action by recognized, Court-
27   approved notice dissemination methods, which may include U.S. mail, electronic
28   mail, internet postings, and/or published notice.
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 13 of 51 Page ID #:13



1          53.   Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). Pursuant to Rule
2    23(a)(2) and with 23(b)(3)’s predominance requirement, this action involves common
3    questions of law and fact that predominate over any questions affecting individual
4    Class Members. The common questions include:
5                (a)    Whether Defendant had a legal duty to implement and maintain
6                       reasonable security procedures and practices for the protection of
7                       Plaintiff’s and Class Members’ Private Information and other data;
8                (b)    Whether Defendant breached its legal duty to implement and
9                       maintain reasonable security procedures and practices for the
10                      protection of Plaintiff’s and Class Members’ Private Information
11                      and other data;
12               (c)    Whether Defendant’s conduct, practices, actions, and omissions,
13                      resulted in or were the proximate cause of the data breach,
14                      resulting in the loss of Private Information and other data of
15                      Plaintiff and Class Members;
16               (d)    Whether Defendant had a legal duty to provide timely and accurate
17                      notice of the Data Breach to Plaintiff and Class Members;
18               (e)    Whether Defendant breached its duty to provide timely and
19                      accurate notice of the Data Breach to Plaintiff and Class Members;
20               (f)    Whether and when Defendant knew or should have known that its
21                      computer systems were vulnerable to attack;
22               (g)    Whether Defendant failed to implement and maintain reasonable
23                      and adequate security measures, procedures, and practices to
24                      safeguard Plaintiff’s and Class Members’ Private Information and
25                      other data;
26               (h)    Whether Defendant breached express or implied contract with the
27                      various and several school districts and Plaintiff and the Class in
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                                  CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 14 of 51 Page ID #:14



1                        failing to have adequate data security measures despite promising
2                        to do so;
3                 (i)    Whether Defendant’s conduct was negligent;
4                 (j)    Whether Defendant’s conduct was per se negligent;
5                 (k)    Whether Defendant’s practices, actions, and omissions constitute
6                        unfair or deceptive business practices;
7                 (l)    Whether Plaintiff and Class Members suffered legally cognizable
8                        damages as a result of Defendant’s conduct, including increased
9                        risk of identity theft and loss of value of their personal and
10                       financial information; and
11                (m)    Whether Plaintiff and Class Members are entitled to relief,
12                       including damages and equitable relief.
13         53.    Typicality. Fed. R. Civ. P. 23(a)(3). Pursuant to Rule 23(a)(3), Plaintiff’s
14   claims are typical of the claims of the Members of the Class. Plaintiff, as all Members
15   of the Class, were injured through Defendant’s uniform misconduct described above
16   and asserts similar claims for relief. The same events and conduct that give rise to
17   Plaintiff’s claims also give rise to the claims of every other Class Member because
18   Plaintiff and each Class Member are persons that have suffered harm as a direct result
19   of the same conduct engaged in by Defendant and resulting in the Data Breach.
20         54.    Adequacy of Representation (Fed. R. Civ. P. 23(a)(4). Pursuant to Rule
21   23(a)(4), Plaintiff and their counsel will fairly and adequately represent the interests of
22   the Class Members. Plaintiff has no interest antagonistic to, or in conflict with, the
23   interests of the Class Members. Plaintiff’s attorneys are highly experienced in the
24   prosecution of consumer class actions and data breach cases.
25         55.    Superiority (Fed. R. Civ. P. 23(b)(3). Pursuant to Rule 23(b)(3), a class
26   action is superior to individual adjudications of this controversy. Litigation is not
27   economically feasible for individual Members of the Class because the amount of
28   monetary relief available to individual Plaintiff is insufficient in the absence of the
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                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 15 of 51 Page ID #:15



1    class action procedure. Separate litigation could yield inconsistent or contradictory
2    judgments and increase the delay and expense to all parties and the court system. A
3    class action presents fewer management difficulties and provides the benefits of a
4    single adjudication, economy of scale, and comprehensive supervision by a single
5    court.
6             56.   Risk of Inconsistent or Dispositive Adjudications and the
7    Appropriateness of Final Injunctive or Declaratory Relief (Fed. R. Civ. P. 23(b)(1)
8    and (2)). In the alternative, this action may properly be maintained as a class action,
9    because:
10                  (a)   The prosecution of separate actions by individual members of the
11                        Class would create a risk of inconsistent or varying adjudication
12                        with respect to individual members of the Class, which would
13                        establish incompatible standards of conduct for Defendant; or
14                  (b)   The prosecution of separate actions by individual Members of the
15                        Class would create a risk of adjudications with respect to
16                        individual Members of the Class which would, as a practical
17                        matter, be dispositive of the interests of other Members of the
18                        Class not parties to the adjudications, or substantially impair or
19                        impede their ability to protect their interests; or
20                  (c)   Defendant has acted or refused to act on grounds generally
21                        applicable to the Class, thereby making appropriate final injunctive
22                        or corresponding declaratory relief with respect to the Class as a
23                        whole.
24            57.   Issue Certification (Fed. R. Civ. P. 23(c)(4). In the alternative, the
25   common questions of fact and law, set forth above, are appropriate for issue
26   certification on behalf of the proposed Class.
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                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 16 of 51 Page ID #:16



1                   FIRST CAUSE OF ACTION FOR NEGLIGENCE
         (On behalf of Plaintiff, the Nationwide Class and the California, Colorado,
2                     Connecticut, New York and Oklahoma Classes)
3          58.    The Plaintiff repeats, reiterates and realleges each and every allegation
4    set forth in the preceding paragraphs above as if set forth in full herein.
5          59.    Defendant required Plaintiff and Class Members to submit non-public,
6    sensitive PII and other data via its contracts with the respective school districts.
7          60.    Defendant had, and continues to have, a duty to Plaintiff and Class
8    Members to exercise reasonable care in safeguarding and protecting their Private
9    Information and other data. Defendant also had, and continues to have, a duty to use
10   ordinary care in activities from which harm might be reasonably anticipated, such as
11   in the collection, storage and protection of Private Information and other data within
12   their possession, custody and control and that of its vendors.
13         61.    Defendant’s duty to use reasonable security measures arose as a result of
14   the special relationship that existed between Defendant and students and former
15   students. The special relationship arose because Plaintiff and the Members of the
16   Class had entrusted Defendant with their Private Information and other data by virtue
17   of being students at the respective school districts with which Defendant had
18   contracted to provide services. Only Defendant was in a position to ensure that its
19   systems were sufficient to protect against the harm to Plaintiff and the Class Members
20   from a data breach.
21         62.    Defendant violated these standards and duties by failing to exercise
22   reasonable care in safeguarding and protecting Plaintiff and Class Members’ Private
23   Information and other data by failing to design, adopt, implement, control, direct,
24   oversee, manage, monitor, and audit appropriate data security processes, controls,
25   policies, procedures, protocols, and software and hardware systems to safeguard and
26   protect the Private Information and other data entrusted to it, including Plaintiff and
27   Class Members’ Private Information and other data as aforesaid. It was reasonably
28   foreseeable to Defendant that its failure to exercise reasonable care in safeguarding
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 17 of 51 Page ID #:17



1    and protecting Plaintiff and Class Members’ Private Information and other data by
2    failing to design, adopt, implement, control, direct, oversee, manage, monitor, and
3    audit appropriate data security processes, controls, policies, procedures, protocols, and
4    software and hardware systems would result in the unauthorized release, disclosure,
5    and dissemination of Plaintiff and Class Members’ Private Information and other data.
6          63.    Defendant, by and through its negligent actions, inaction, omissions, and
7    want of ordinary care, unlawfully breached its duties to Plaintiff and Class Members
8    by, inter alia, failing to exercise reasonable care in safeguarding and protecting
9    Plaintiff and Class Members’ Private Information and other data within their
10   possession, custody and control.
11         64.    Defendant, by and through its negligent actions, inactions, omissions, and
12   want of ordinary care, further breached its duties to Plaintiff and Class Members by
13   failing to design, adopt, implement, control, direct, oversee, manage, monitor and
14   audit their processes, controls, policies, procedures, protocols, and software and
15   hardware systems for complying with the applicable laws and safeguarding and
16   protecting their Private Information and other data.
17         65.    But for Defendant’s negligent breach of the above-described duties owed
18   to Plaintiff and Class Members, their Private Information and other data would not
19   have been released, disclosed, and disseminated without their authorization.
20         66.    Plaintiff and Class Members’ Private Information and other data was
21   transferred, sold, opened, viewed, mined and otherwise released, disclosed, and
22   disseminated to unauthorized persons without their authorization as the direct and
23   proximate result of Defendant’s failure to design, adopt, implement, control, direct,
24   oversee, manage, monitor and audit its processes, controls, policies, procedures and
25   protocols for complying with the applicable laws and safeguarding and protecting
26   Plaintiff and Class Members’ Private Information and other data.
27         67.    As a direct and proximate result of Defendant’s above-described
28   wrongful actions, inaction, omissions, and want of ordinary care that directly and
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 18 of 51 Page ID #:18



1    proximately caused the Data Breach, Plaintiff and Class Members have suffered, and
2    will continue to suffer, ongoing, imminent, and impending threat of identity theft
3    crimes, fraud, and abuse, resulting in monetary loss and economic harm; actual
4    identity theft crimes, fraud, and abuse, resulting in monetary loss and economic harm;
5    loss of the confidentiality of the stolen confidential data; the illegal sale of the
6    compromised data on the dark web; expenses and/or time spent on credit monitoring
7    and identity theft insurance; time spent scrutinizing bank statements, credit card
8    statements, and credit reports; expenses and/or time spent initiating fraud alerts,
9    decreased credit scores and ratings; lost work time; and other economic and non-
10   economic harm.
11         68.     Defendant’s above-described wrongful actions, inaction, omissions, and
12   want of ordinary care that directly and proximately caused this Data Breach constitute
13   negligence.
14         69.     Plaintiff is entitled to compensatory and consequential damages suffered
15   as a result of the Data Breach.
16         70.     Plaintiff is also entitled to injunctive relief requiring Illuminate to, e.g.,
17   (i) strengthen its data security programs and monitoring procedures; (ii) submit to
18   future annual audits of those systems and monitoring procedures; and (iii)
19   immediately provide robust and adequate credit monitoring to all Class Members, and
20   any other relief this Court deems just and proper.
21
              SECOND CAUSE OF ACTION FOR NEGLIGENCE PER SE
22       (On behalf of Plaintiff, the Nationwide Class and the California, Colorado,
                      Connecticut, New York and Oklahoma Classes)
23
24         69.     The Plaintiff repeats, reiterates and realleges each and every allegation
25   set forth in the preceding paragraphs above as if set forth in full herein.
26         70.     Pursuant to the Federal Trade Commission Act (“FTCA”), 15 U.S.C. §
27   45, Defendant had a duty to provide fair and adequate computer systems and data
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                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 19 of 51 Page ID #:19



1    security to safeguard the personal and financial information of Plaintiff and Class
2    Members.
3          71.    The FTCA prohibits “unfair . . . practices in or affecting commerce,”
4    including, as interpreted and enforced by the FTC, the unfair act or practice by
5    businesses, such as Defendant, of failing to use reasonable measures to protect the
6    Private Information and other data of Plaintiff and Class Members. The pertinent FTC
7    publications and orders form part of the basis of Defendant’s duty in this regard.
8          72.    Defendant required, gathered, and stored personal and financial
9    information of Plaintiff and Class Members to fulfill its contracts with the various and
10   several school districts.
11         73.    Defendant violated the FTCA by failing to use reasonable measures to
12   protect the Private Information and other data of Plaintiff and Class Members and by
13   not complying with applicable industry standards, as described herein.
14         74.    Plaintiff and Class Members are within the class of persons that the FTC
15   Act was intended to protect.
16         75.    The harm that occurred as a result of the Data Breach is the type of harm
17   the FTCA was intended to guard against. The FTC has pursued enforcement actions
18   against businesses, which, as a result of their failure to employ reasonable data
19   security measures and avoid unfair and deceptive practices, caused the same harm as
20   that suffered by Plaintiff and Class Members.
21         76.    As a direct and proximate result of Defendant’s negligence per se,
22   Plaintiff and Class Members have suffered, and continue to suffer, injuries, damages
23   arising from identify theft; from their needing to contact agencies administering
24   unemployment benefits; potentially defending themselves from legal action base upon
25   fraudulent applications for unemployment benefits made in their name; contacting
26   their financial institutions; loss of use of funds; closing or modifying financial
27   accounts; damages from lost time and effort to mitigate the actual and potential impact
28   of the data breach on their lives; closely reviewing and monitoring their accounts for
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 20 of 51 Page ID #:20



1    unauthorized activity which is certainly impending; placing credit freezes and credit
2    alerts with credit reporting agencies; and damages from identify theft, which may take
3    months or years to discover and detect.
4           77.    Defendant’s violation of the FTCA constitutes negligence per se.
5           78.    For the same reasons and upon the same bases, Defendant’s violation of
6    the Family Educational Rights and Privacy Act, the California Consumer Privacy Act,
7    the California Customer Records Act, the California Unfair Competition Law, the
8    New York SHIELD Act and New York GBL §349 and various other State and local
9    statutes, constitutes negligence per se.
10          79.    As a direct and proximate result of Defendant’s violation of the foregoing
11   statutes and regulations, Plaintiff and Class Members have suffered injury and are
12   entitled to compensatory, consequential, and punitive damages in an amount to be
13   proven at trial.
14
              THIRD CAUSE OF ACTION FOR BREACH OF CONTRACT
15       (On behalf of Plaintiff, the Nationwide Class and the California, Colorado,
                      Connecticut, New York and Oklahoma Classes)
16
17          79.    The Plaintiff repeats, reiterates and realleges each and every allegation
18   set forth in the preceding paragraphs above as if set forth in full herein.
19          80.    Defendant required, gathered, and stored Private Information and other
20   data of Plaintiff and Class Members to fulfill its contracts with the various and several
21   school districts.
22          81.    There was offer, acceptance and consideration, the consideration being
23   the fees paid by the various and several school districts for Defendant’s services,
24   including the provisions of those agreements pertaining to the protection of students’
25   and former students’ Private Information and other data.
26          82.    The various and several school districts have performed and satisfied all
27   of their obligations to Defendant pursuant to their contracts.
28
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 21 of 51 Page ID #:21



1          83.    Defendant breached its contractual obligations to protect the students’
2    and former students’ Private Information and other data it possessed and with which it
3    was entrusted when the information was accessed by unauthorized persons as part of
4    the Data Breach.
5          84.    Plaintiff and Class Members were foreseeable third-party beneficiaries of
6    said contracts.
7          85.    As a direct and proximate result of Defendant’s breach of contract,
8    Plaintiff and Class Members have suffered, and continue to suffer, injuries, damages
9    arising from identify theft; from their needing to contact educational agencies;
10   potentially defending themselves from legal action base upon fraudulent applications
11   for benefits made in their names; contacting their financial institutions; loss of use of
12   funds; closing or modifying financial accounts; damages from lost time and effort to
13   mitigate the actual and potential impact of the Data Breach on their lives; closely
14   reviewing and monitoring their accounts for unauthorized activity which is certainly
15   impending; placing credit freezes and credit alerts with credit reporting agencies; and
16   damages from identity theft, which may take months or years to discover and detect.
17         86.    The above constitutes breach of contract by Defendant.
18         87.    The Plaintiff repeats, reiterates and realleges each and every allegation
19   set forth in the preceding paragraphs above as if set forth in full herein.
20         88.    Defendant required, gathered, and stored Private Information and other
21   data of Plaintiff and Class Members to fulfill its contracts with the various and several
22   school districts.
23         89.    By virtue of the above, Defendant entered into implied contracts with
24   Plaintiff and Class Members by which Defendant agreed to safeguard and protect such
25   information, to keep such information secure and confidential, and to timely and
26   accurately notify Plaintiff and Class Members if their data had been breached and
27   compromised or stolen.
28
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 22 of 51 Page ID #:22



1          90.    Plaintiff and Class Members fully performed their obligations under the
2    implied contracts with Defendant.
3          91.    Defendant breached the implied contracts it made with Plaintiff and Class
4    Members by failing to safeguard and protect student’ and former students’ Private
5    Information and other data, and by failing to provide timely and accurate notice to
6    them that Private Information and other data was compromised as a result of the Data
7    Breach.
8          92.    As a direct and proximate result of Defendant’s breach of implied
9    contract, Plaintiff and Class Members have suffered, and continue to suffer, injuries,
10   damages arising from identify theft; from their needing to contact agencies
11   administering benefits; potentially defending themselves from legal action base upon
12   fraudulent applications for unemployment benefits made in their name; contacting
13   their financial institutions; loss of use of funds; closing or modifying financial
14   accounts; damages from lost time and effort to mitigate the actual and potential impact
15   of the data breach on their lives; closely reviewing and monitoring their accounts for
16   unauthorized activity which is certainly impending; placing credit freezes and credit
17   alerts with credit reporting agencies; and damages from identify theft, which may take
18   months or years to discover and detect.
19         93.    The above constitutes breach of implied contract by Defendant.
20         94.    Plaintiff and Class Members are therefore entitled to damages, including
21   restitution and unjust enrichment, disgorgement, declaratory and injunctive relief, and
22   attorney fees, costs, and expenses.
23
              FOURTH CAUSE OF ACTION FOR MISREPRESENTATION
24          (On behalf of Plaintiff, the Nationwide Class and the California, Colorado,
                      Connecticut, New York and Oklahoma Classes)
25
26         94.    The Plaintiff repeats, reiterates and realleges each and every allegation set
27   forth in the preceding paragraphs above as if set forth in full herein.
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 23 of 51 Page ID #:23



1          95.    A special, privity-like relationship existed between Defendant and
2    Plaintiff and Class Members herein because Plaintiff and the Members of the Class
3    entrusted Defendant with their Private Information and other data by virtue of being
4    students at the respective school districts with which Defendant had contracted to
5    provide services, and by virtue of Federal, State and local statutes and regulations.
6          96.    The Defendant incorrectly represented to Plaintiff and Class Members
7    that they would take appropriate measures to safeguard their Private Information and
8    other data and promptly notify them of a data breach.
9          97.    Plaintiff and Class Members reasonably relied upon said representations
10   in that they held Defendant in a position of trust as guardians of their Private
11   Information and other data.
12         98.    As a direct and proximate result of Defendant’s misrepresentation,
13   Plaintiff and Class Members have suffered, and continue to suffer, injuries, damages
14   arising from identify theft; from their needing to contact agencies administering
15   benefits; potentially defending themselves from legal action base upon fraudulent
16   applications for benefits made in their name; contacting their financial institutions;
17   loss of use of funds; closing or modifying financial accounts; damages from lost time
18   and effort to mitigate the actual and potential impact of the data breach on their lives;
19   closely reviewing and monitoring their accounts for unauthorized activity which is
20   certainly impending; placing credit freezes and credit alerts with credit reporting
21   agencies; and damages from identify theft, which may take months or years to
22   discover and detect.
23         99.    The above constitutes misrepresentation on the part of Defendant.
24
          FIFTH CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY
25         (On behalf of Plaintiff, the Nationwide Class and the California, Colorado,
                     Connecticut, New York and Oklahoma Classes)
26
27         100. The Plaintiff repeats, reiterates and realleges each and every allegation
28   set forth in the preceding paragraphs above as if set forth in full herein.
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 24 of 51 Page ID #:24



1          101. A fiduciary relationship existed between Plaintiff and Class Members and
2    Defendant, in that Defendant was in a position of trust with respect to Plaintiff and
3    Class Members by virtue of being students at the respective school districts with
4    which Defendant had contracted to provide services, and by virtue of Federal, State
5    and local statutes and regulations.
6          102. Defendant owed a duty to Plaintiff and Class Members to insure that the
7    Private Information and other data entrusted to them was safeguarded pursuant to
8    common law and statute.
9          103. The Defendant engaged in misconduct, consisting of the failure to
10   safeguard the Private Information and other data of Plaintiff and Class Members that
11   had been entrusted to them, in violation of the duty to exercise due care, their
12   contractual obligations and their statutory obligations pursuant to the Federal Trade
13   Commission Act (“FTCA”), the Family Educational Rights and Privacy Act, the
14   California Consumer Privacy Act, the California Customer Records Act, the
15   California Unfair Competition Law, the New York SHIELD Act and New York GBL
16   §349 and various other State and local statutes, constitutes negligence per se.
17         104. As a direct and proximate result of Defendant’s breach of fiduciary duty,
18   Plaintiff and Class Members have suffered, and continue to suffer, injuries, damages
19   arising from identify theft; from their needing to contact agencies administering
20   benefits; potentially defending themselves from legal action base upon fraudulent
21   applications for benefits made in their name; contacting their financial institutions;
22   loss of use of funds; closing or modifying financial accounts; damages from lost time
23   and effort to mitigate the actual and potential impact of the data breach on their lives;
24   closely reviewing and monitoring their accounts for unauthorized activity which is
25   certainly impending; placing credit freezes and credit alerts with credit reporting
26   agencies; and damages from identify theft, which may take months or years to
27   discover and detect.
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 25 of 51 Page ID #:25



1          105. As a direct and proximate result of Defendant’s breach of their fiduciary
2    duty, Plaintiff and Class Members have suffered and will continue to suffer other
3    forms of injury and/or harm, and other economic and non-economic losses.
4          106. The above constitutes breach of fiduciary duty on the part of Defendant.
5
              SIXTH CAUSE OF ACTION FOR INVASION OF PRIVACY
6           (On behalf of Plaintiff, the Nationwide Class and the California, Colorado,
                      Connecticut, New York and Oklahoma Classes)
7
8          107. The Plaintiff repeats, reiterates and realleges each and every allegation
9    set forth in the preceding paragraphs above as if set forth in full herein.
10         108. Plaintiff and the Class Members have a legally protected privacy interest
11   in their Private Information, which is and was collected, stored and maintained by
12   Defendant, and they are entitled to the reasonable and adequate protection of their
13   Private Information against foreseeable unauthorized access, as occurred with the
14   Data Breach.
15         109. Plaintiff and the Class Members reasonably expected that Defendant
16   would protect and secure their Private Information from unauthorized parties and that
17   their Private Information would not be accessed, exfiltrated, and disclosed to any
18   unauthorized parties or for any improper purpose.
19         110. The Defendant unlawfully invaded the privacy rights of Plaintiff and the
20   Class Members by engaging in the conduct described above, including by failing to
21   protect their Private Information by permitting unauthorized third-parties to access,
22   exfiltrate and view this Private Information. Likewise, Defendant further invaded the
23   privacy rights of Plaintiff and Class Members, and permitted cybercriminals to invade
24   the privacy rights of Plaintiff and Class Members, by unreasonably and intentionally
25   delaying disclosure of the Data Breach, and failing to properly identify what Private
26   Information had been accessed, exfiltrated, and viewed by unauthorized third-parties.
27
28
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 26 of 51 Page ID #:26



1          111. This invasion of privacy resulted from Defendant’s failure to properly
2    secure and maintain Plaintiff and Class Members’ Private Information, leading to the
3    foreseeable unauthorized access, exfiltration, and disclosure of this unguarded data.
4          112. Plaintiff and Class Members’ Private Information is the type of sensitive,
5    personal information that one normally expects will be protected from exposure by the
6    very entity charged with safeguarding it. Further, the public has no legitimate concern
7    in Plaintiff and Class Members’ Private Information, and such information is
8    otherwise protected from exposure to the public by various statutes, regulations and
9    other laws.
10         113. The disclosure of Plaintiff and Class Members’ Private Information to
11   unauthorized parties is substantial and unreasonable enough to be legally cognizable
12   and is highly offensive to a reasonable person.
13         114. Defendant’s willful and reckless conduct which permitted unauthorized
14   access, exfiltration and disclosure of Plaintiff and Class Members’, Private
15   Information is such that it would cause serious mental injury, shame or humiliation to
16   people of ordinary sensibilities.
17         115. The unauthorized access, exfiltration, and disclosure of Plaintiff and
18   Class Members’ Private Information was without their consent, and in violation of
19   various statutes, regulations and other laws.
20         116. As a result of the invasion of privacy caused by Defendant, Plaintiff and
21   Class Members suffered and will continue to suffer damages and injury as set forth
22   herein.
23         117. Plaintiff and Class Members seek all monetary and non-monetary relief
24   allowed by law, including damages, punitive damages, restitution, injunctive relief,
25   reasonable attorneys’ fees and costs, and any other relief that is just and proper.
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27
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 27 of 51 Page ID #:27



1       SEVENTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
       UNFAIR COMPETITION LAW (CAL. BUS. & PROF. CODE §§ 17200, ET
2                               SEQ.)
3              (On behalf of Plaintiff, the Nationwide Class and the California Class)
4
5          118. The Plaintiff repeats, reiterates and realleges each and every allegation
6    set forth in the preceding paragraphs above as if set forth in full herein.
7          119. Defendant engaged in deceptive, unfair, and unlawful trade acts or
8    practices in the conduct of trade or commerce and furnishing of services, in violation
9    of Cal. Bus. & Prof. Code §§17200, et. seq., including but not limited to the
10   following:
11                (a)    Defendant misrepresented material facts to Plaintiff, the
12                       Nationwide Class and California Class Members by representing
13                       that they would maintain adequate data privacy and security
14                       practices and procedures to safeguard Plaintiff, the Nationwide
15                       Class and California Class members’ Private Information and other
16                       data from unauthorized disclosure, release, data breaches, and
17                       theft;
18                (b)    Defendant misrepresented material facts to Plaintiff, the
19                       Nationwide Class and California Class Members by representing
20                       that they did and would comply with the requirements of federal
21                       and state laws pertaining to the privacy and security of Plaintiff,
22                       the Nationwide Class and California Class Members’ Private
23                       Information and other data;
24                (c)    Defendant omitted, suppressed, and concealed material facts of the
25                       inadequacy of its privacy and security protections for Plaintiff, the
26                       Class and California Class Members’ Private Information and
27                       other data;
28
                                              26
                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 28 of 51 Page ID #:28



1              (d)   Defendant misrepresented material facts to Plaintiff, the
2                    Nationwide Class and California Class Members by representing
3                    that they would maintain adequate data privacy and security
4                    practices and procedures to safeguard Plaintiff, the Nationwide
5                    Class and California and Class Members’ Private Information and
6                    other data from unauthorized disclosure, release, data breaches,
7                    and theft;
8              (e)   Defendant misrepresented material facts to Plaintiff, the
9                    Nationwide Class and California Class Members by representing
10                   that they did and would comply with the requirements of federal
11                   and state laws pertaining to the privacy and security of Plaintiff,
12                   the Nationwide Class and California Class Members’ Private
13                   Information and other data;
14             (f)   Defendant omitted, suppressed, and concealed material facts of the
15                   inadequacy of its privacy and security protections for Plaintiff, the
16                   Nationwide Class and California Class Members’ Private
17                   Information and other data;
18             (g)   Defendant engaged in deceptive, unfair, and unlawful trade acts or
19                   practices by failing to maintain the privacy and security of
20                   Plaintiff, the Nationwide Class and California Class Members’
21                   Private Information and other data, in violation of duties imposed
22                   by and public policies reflected in applicable federal and state
23                   laws, resulting in the Data Breach. These unfair acts and practices
24                   violated duties imposed by laws including the Federal Trade
25                   Commission Act (15 U.S.C. § 45);
26             (h)   Defendant engaged in deceptive, unfair, and unlawful trade acts or
27                   practices by failing to disclose the Data Breach to Plaintiff, the
28                   Nationwide Class and California Class Members in a timely and
                                            27
                                  CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 29 of 51 Page ID #:29



1                        accurate manner, contrary to the duties imposed by various federal
2                        and state statutes and regulations.
3          119. Defendant’s failure constitutes false and misleading representations,
4    which have the capacity, tendency, and effect of deceiving or misleading consumers
5    (including Plaintiff, the Nationwide Class and California Class Members) regarding
6    the security of its network and aggregation of Private Information and other data.
7          120. The misrepresentations upon which consumers (including Plaintiff, the
8    Nationwide Class and California Class Members) relied were material
9    misrepresentations (e.g., as to Defendant’s adequate protection of Private Information
10   and other data), and consumers (including Plaintiff, the Nationwide Class and
11   California Class Members) relied on those representations to their detriment.
12         121. Defendant’s conduct is unconscionable, deceptive, and unfair, as it is
13   likely to, and did, mislead consumers acting reasonably under the circumstances. As a
14   direct and proximate result of Defendant’s conduct, Plaintiff, the Nationwide Class
15   and California Class Members have been harmed, in that they were not timely notified
16   of the data breach, which resulted in profound vulnerability of their Private
17   Information and other data.
18         122. As a direct and proximate result of Defendant’s unconscionable, unfair,
19   and deceptive acts and omissions, Plaintiff, the Class and California Class Members’
20   Private Information and other data were disclosed to third parties without
21   authorization, causing and will continue to cause Plaintiff, the Nationwide Class and
22   California and Class Members damages.
23         123. As a direct and proximate result of Defendant’s violation of Cal. Bus. &
24   Prof. Code §§17200, et. seq., Plaintiff, the Nationwide Class and California and Class
25   Members have suffered, and continue to suffer, injuries, damages arising from identify
26   theft; from their needing to contact agencies administering benefits; potentially
27   defending themselves from legal action base upon fraudulent applications for benefits
28   made in their name; contacting their financial institutions; loss of use of funds; closing
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 30 of 51 Page ID #:30



1    or modifying financial accounts; damages from lost time and effort to mitigate the
2    actual and potential impact of the data breach on their lives; closely reviewing and
3    monitoring their accounts for unauthorized activity which is certainly impending;
4    placing credit freezes and credit alerts with credit reporting agencies; and damages
5    from identify theft, which may take months or years to discover and detect.
6           124. Plaintiff, the Nationwide Class and California Class Members seek all
7    monetary and non-monetary relief allowed by law, including restitution of all profits
8    stemming from Defendant’s unfair, unlawful, and fraudulent business practices or use
9    of their Private Information; declaratory relief; reasonable attorneys’ fees and costs
10   under California Code of Civil Procedure § 1021.5; injunctive relief; and other
11   appropriate equitable relief.
12          125. The above constitutes violation of Cal. Bus. & Prof. Code §§17200, et.
13   seq.
14
            EIGHTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
15          CUSTOMER RECORDS ACT (CAL. CIV. CODE § 1798.80, ET SEQ.)
               (On behalf of Plaintiff, the Nationwide Class and the California Class)
16
17          126. The Plaintiff repeats, reiterates and realleges each and every allegation
18   set forth in the preceding paragraphs above as if set forth in full herein.
19          127. Cal. Civ. Code §1798.81.5 requires that any business that “owns,
20   licenses, or maintains Personal Information about a California resident shall
21   implement and maintain reasonable security procedures and practices appropriate to
22   the nature of the information, to protect the Personal Information from unauthorized
23   access, destruction, use, modification, or disclosure.”
24          128. Defendant committed violations of Cal. Civ. Code §1798.81.5, including
25   but not limited to by failing to design, adopt, implement, control, direct, oversee,
26   manage, monitor, and audit appropriate data security processes, controls, policies,
27   procedures, protocols, and software and hardware systems to safeguard and protect the
28
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                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 31 of 51 Page ID #:31



1    Private Information and other data entrusted to it, including Plaintiff, the Nationwide
2    Class and California Class Members’ Private Information and other data as aforesaid.
3          129. As a direct and proximate result of Defendant’s violation of Cal. Civ.
4    Code §1798.81.5, Plaintiff, the Nationwide Class and California and Class Members’
5    Private Information and other data were disclosed to third parties without
6    authorization, causing and will continue to cause Plaintiff, the Nationwide Class and
7    California Class Members damages.
8          130. As a direct and proximate result of Defendant’s violation of Cal. Civ.
9    Code §1798.81.5, Plaintiff, the Nationwide Class and California Class Members have
10   suffered, and continue to suffer, injuries, damages arising from identify theft; from
11   their needing to contact agencies administering benefits; potentially defending
12   themselves from legal action base upon fraudulent applications for benefits made in
13   their name; contacting their financial institutions; loss of use of funds; closing or
14   modifying financial accounts; damages from lost time and effort to mitigate the actual
15   and potential impact of the data breach on their lives; closely reviewing and
16   monitoring their accounts for unauthorized activity which is certainly impending;
17   placing credit freezes and credit alerts with credit reporting agencies; and damages
18   from identify theft, which may take months or years to discover and detect.
19         131. The above constitutes violation of Cal. Civ. Code §1798.81.5.
20         132. Plaintiff, the Nationwide Class and California Class Members seek relief
21   under Cal. Civ. Code § 1798.84, including actual damages and injunctive relief.
22
          NINTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
23       CONSUMER PRIVACY ACT (CAL. CIV. CODE §§ 1798.150, ET SEQ. )
            (On behalf of Plaintiff, the Nationwide Class and the California Class)
24
25         133. The Plaintiff repeats, reiterates and realleges each and every allegation
26   set forth in the preceding paragraphs above as if set forth in full herein.
27         134. Defendant violated to California Consumer Privacy Act by failing to
28   exercise reasonable care in safeguarding and protecting Plaintiff, the Nationwide
                                              30
                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 32 of 51 Page ID #:32



1    Class and California Class Members’ Private Information and other data by failing to
2    design, adopt, implement, control, direct, oversee, manage, monitor, and audit
3    appropriate data security processes, controls, policies, procedures, protocols, and
4    software and hardware systems to safeguard and protect the Private Information and
5    other data entrusted to it, including Plaintiff, the Nationwide Class and California
6    Class Members’ Private Information and other data as aforesaid. It was reasonably
7    foreseeable to Defendant that its failure to exercise reasonable care in safeguarding
8    and protecting Plaintiff, the Nationwide Class and California Class Members’ Private
9    Information and other data by failing to design, adopt, implement, control, direct,
10   oversee, manage, monitor, and audit appropriate data security processes, controls,
11   policies, procedures, protocols, and software and hardware systems would result in the
12   unauthorized release, disclosure, and dissemination of Plaintiff, the Nationwide Class
13   and California Class Members’ Private Information and other data.
14         135. As a direct and proximate result of Defendant’s violation of Cal. Civ.
15   Code §1798.150, et seq., Plaintiff, the Nationwide Class and California Class
16   Members’ Private Information and other data were disclosed to third parties without
17   authorization, causing and will continue to cause Plaintiff, the Nationwide Class and
18   California Class Members damages.
19         136. As a direct and proximate result of Defendant’s violation of Cal. Civ.
20   Code §1798. 150, et seq., Plaintiff, the Nationwide Class and California Class
21   Members have suffered, and continue to suffer, injuries, damages arising from identify
22   theft; from their needing to contact agencies administering benefits; potentially
23   defending themselves from legal action base upon fraudulent applications for benefits
24   made in their name; contacting their financial institutions; loss of use of funds; closing
25   or modifying financial accounts; damages from lost time and effort to mitigate the
26   actual and potential impact of the data breach on their lives; closely reviewing and
27   monitoring their accounts for unauthorized activity which is certainly impending;
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 33 of 51 Page ID #:33



1    placing credit freezes and credit alerts with credit reporting agencies; and damages
2    from identify theft, which may take months or years to discover and detect.
3          137. In accordance with Cal. Civ. Code § 1798.150(b), on or about June 10,
4    2022, Plaintiff’s counsel served Defendant with notice of these CCPA violations via
5    First-Class U.S. Mail.
6          138. On behalf of Plaintiff, the Nationwide Class and California Class
7    Members, Plaintiff, the Nationwide Class and California Class Members seek
8    injunctive relief in the form of an order enjoining Defendant from continuing to
9    violate the CCPA. If Defendant fails to respond to Plaintiff’s notice letter or agree to
10   rectify the violations detailed above, Plaintiff will amend this Complaint and seek
11   actual, punitive, and statutory damages, restitution, attorneys’ fees and costs, and any
12   other relief the Court deems proper as a result of Defendant’s CCPA violations.
13         139. Plaintiff, the Nationwide Class and California Class Members seek
14   statutory damages of between $100 and $750 per customer per violation or actual
15   damages, whichever is greater, as well as all monetary and non-monetary relief
16   allowed by law, including actual financial losses; injunctive relief; and reasonable
17   attorneys’ fees and costs.
18         140. The above constitutes violation of Cal. Civ. Code §1798.150, et. seq.
19
        TENTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
20   CONSUMER LEGAL REMEDIES ACT (CAL. CIV. CODE §§ 1750, ET SEQ.)
        (On behalf of Plaintiff, the Nationwide Class and the California Class)
21
22         141. The Plaintiff repeats, reiterates and realleges each and every allegation
23   set forth in the preceding paragraphs above as if set forth in full herein.
24         142. Defendant’s acts and practices were intended to and did result in the sales
25   of products and services to Plaintiff, the Nationwide Class and California Class
26   Members in violation of Civil Code § 1770, including:
27                (a)    Representing that goods or services have characteristics that they
28                       do not have;
                                              32
                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 34 of 51 Page ID #:34



1                  (b)   Representing that goods or services are of a particular standard,
2                        quality, or grade when they were not;
3                  (c)   Advertising goods or services with intent not to sell them as
4                        advertised; and
5                  (d)   Representing that the subject of a transaction has been supplied in
6                        accordance with a previous representation when it has not.
7            141. Defendant’s representations and omissions were material because they
8    were likely to deceive reasonable consumers about the adequacy of its data security
9    and ability to protect the confidentiality of consumers’ Private Information and other
10   data.
11           142. As a direct and proximate result of Defendant’s violation of Cal. Civ.
12   Code §1750, et seq., Plaintiff, the Nationwide Class and California Class Members’
13   Private Information and other data were disclosed to third parties without
14   authorization, causing and will continue to cause Plaintiff, the Nationwide Class and
15   California Class Members damages.
16           143. As a direct and proximate result of Defendant’s violation of Cal. Civ.
17   Code §1750, et seq., Plaintiff, the Nationwide Class and California and Class
18   Members have suffered, and continue to suffer, injuries, damages arising from identify
19   theft; from their needing to contact agencies administering benefits; potentially
20   defending themselves from legal action base upon fraudulent applications for benefits
21   made in their name; contacting their financial institutions; loss of use of funds; closing
22   or modifying financial accounts; damages from lost time and effort to mitigate the
23   actual and potential impact of the data breach on their lives; closely reviewing and
24   monitoring their accounts for unauthorized activity which is certainly impending;
25   placing credit freezes and credit alerts with credit reporting agencies; and damages
26   from identify theft, which may take months or years to discover and detect.
27
28
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 35 of 51 Page ID #:35



1          144. In accordance with Cal. Civ. Code § 1750, on or about June 10, 2022,
2    Plaintiff’s counsel served Defendant with notice of these CLRA violations via First-
3    Class U.S. Mail.
4          145. On behalf of Plaintiff, the Nationwide Class and California Class
5    Members, Plaintiff seeks injunctive relief in the form of an order enjoining Defendant
6    from continuing to violate the CLRA. If Defendant fails to respond to Plaintiff’s
7    notice letter or agree to rectify the violations detailed above, Plaintiff will amend this
8    Complaint and seek actual, punitive, and statutory damages, restitution, attorneys’ fees
9    and costs, and any other relief the Court deems proper as a result of Defendant’s
10   CLRA violations.
11         146. Plaintiff, the Nationwide Class and California Class Members seek all
12   monetary and non-monetary relief allowed by law, including damages, an order
13   enjoining the acts and practices described above, attorneys’ fees, and costs under the
14   CLRA.
15         147. The above constitutes violation of Cal. Civ. Code §1750, et. seq.
16
     ELEVENTH CAUSE OF ACTION FOR VIOLATION OF THE CALIFORNIA
17         CONFIDENTIALITY OF MEDICAL INFORMATION ACT,
18                        CAL. CIV. CODE § 56, ET SEQ.
        (On Behalf of Plaintiff, the Nationwide Class and the California Class)
19
20         148. The Plaintiff repeats, reiterates and realleges each and every allegation
21   set forth in the preceding paragraphs above as if set forth in full herein.
22         149. The California’s Confidentiality of Medical Information Act (“CMIA”)
23   prohibits, among other things, unauthorized disclosure of private medical information.
24   Cal. Civ. Code §§ 56, et seq.
25         150. Plaintiff, the Nationwide Class and California Class Members provided
26   their PHI to Defendant which is a “health care practitioner” is a “provider of health
27   care” as defined by Cal. Civ. Code § 56.05(j).
28
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                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 36 of 51 Page ID #:36



1          151. Plaintiff, the Nationwide Class and California Class Members are
2    “patients” as defined by Cal. Civ. Code § 56.05(k).
3          152. Illuminate is a “provider of health care” subject to the CMIA because it is
4    a “business that offers software or hardware to consumers, . . . that is designed to
5    maintain medical information” in order to make the information available to an
6    individual or an educational entity to which Plaintiff, the Nationwide Class and
7    California Class Members provided their PHI. Cal. Civ. Code § 56.06(b).
8          153. Illuminate stored in electronic form on its computer system Plaintiff, the
9    Nationwide Class and California Class Members’ “medical information” as defined by
10   Cal. Civ. Code § 56.05(j).
11         154. Illuminate’s systems were designed, in part, to make information
12   available to the educational entities by providing cloud-based computing solutions
13   through which those educational entities could store, access, and manage current and
14   former students’ Private Information including PHI.
15         155. Plaintiff, the Nationwide Class and California Class Members did not
16   provide Illuminate authorization nor was Illuminate otherwise authorized to disclose
17   Plaintiff, the Nationwide Class and California Class Members’ PHI to an unauthorized
18   third-party.
19         156. As described throughout this Complaint, Illuminate negligently
20   maintained, disclosed and released Plaintiff, the Nationwide Class and California
21   Class Members’ PHI inasmuch as it did not implement adequate security protocols to
22   prevent unauthorized access to medical information, maintain an adequate electronic
23   security system to prevent data breaches, or employ industry standard and
24   commercially viable measures to mitigate the risks of any data the risks of any data
25   breach or otherwise comply with HIPAA data security requirements.
26         157. As a direct and proximate result of Illuminate’s negligence, it disclosed
27   and released Plaintiff, the Nationwide Class and California Class Members’ PHI to an
28   unauthorized third-party.
                                             35
                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 37 of 51 Page ID #:37



1          158. Illuminate’s unauthorized disclosure of PHI has caused injury to the
2    Plaintiff, the Nationwide Class and California Class Members.
3          159. Upon information and belief, Plaintiff, the Nationwide Class and
4    California Class Members’ PHI was viewed by an unauthorized third party.
5          160. Accordingly, Plaintiff, individually and on behalf of the Nationwide
6    Class and California Class Members seek to recover actual, nominal (including $1000
7    nominal damages per disclosure under § 56.36(b)), and statutory damages (including
8    under § 56.36(c)) where applicable, together with reasonable attorneys’ fees and costs.
9
          TWELFTH CAUSE OF ACTION FOR VIOLATION OF COLORADO
10                SECURITY BREACH NOTIFICATION ACT,
11                      Colo. Rev. Stat. §§ 6-1-716, et seq.
                  (On behalf of Plaintiff and the Colorado Class)
12
13         161. The Plaintiff repeats, reiterates and realleges each and every allegation set
14   forth in the preceding paragraphs above as if set forth in full herein.
15         162. Defendant is required to accurately notify Plaintiff and Colorado Class
16   Members if it becomes aware of a breach of its data security system in the most
17   expedient time possible and without unreasonable delay under Colo. Rev. Stat. § 6-1-
18   716(2).
19         163. Because Defendant was aware of a breach of its security system, it had an
20   obligation to disclose the data breach in a timely and accurate fashion as mandated by
21   Colo. Rev. Stat. § 6-1-716(2).
22         164. By failing to disclose the Illuminate Data Breach in a timely and accurate
23   manner, Defendant violated Colo. Rev. Stat. § 6-1-716(2).
24         165. As a direct and proximate result of Defendant’s violation of Colo. Rev.
25   Stat. § 6-1-716(2), Plaintiff and Colorado Class Members’ Private Information and
26   other data were disclosed to third parties without authorization, causing and will
27   continue to cause Plaintiff and Colorado Class Members damages.
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 38 of 51 Page ID #:38



1          166. As a direct and proximate result of Defendant’s violation of Colo. Rev.
2    Stat. § 6-1-716(2), Plaintiff and Colorado Class Members have suffered, and continue
3    to suffer, injuries, damages arising from identify theft; from their needing to contact
4    agencies administering benefits; potentially defending themselves from legal action
5    base upon fraudulent applications for benefits made in their name; contacting their
6    financial institutions; loss of use of funds; closing or modifying financial accounts;
7    damages from
8    lost time and effort to mitigate the actual and potential impact of the data breach on
9    their lives; closely reviewing and monitoring their accounts for unauthorized activity
10   which is certainly impending; placing credit freezes and credit alerts with credit
11   reporting agencies; and damages from identify theft, which may take months or years
12   to discover and detect.
13         167. Plaintiff and Colorado Class Members seek relief under Colo. Rev. Stat.
14   § 6-1-716(4), including actual damages and equitable relief.
15         168. The above constitutes violation of Colo. Rev. Stat. § 6-1-716(2).
16
       THIRTEENTH CAUSE OF ACTION FOR VIOLATION OF COLORADO
17                   CONSUMER PROTECTION ACT,
18                    Colo. Rev. Stat. §§ 6-1-101, et seq.
                   (On behalf of Plaintiff and the Colorado Class)
19
20         169. The Plaintiff repeats, reiterates and realleges each and every allegation
21   set forth in the preceding paragraphs above as if set forth in full herein.
22         170. Defendant engaged in deceptive trade practices in the course of its
23   business, in violation of Colo. Rev. Stat. § 6-1-105(1), including:
24                (a)    Making a false representation as to the characteristics of products
25                       and services;
26                (b)    Representing that services are of a particular standard, quality, or
27                       grade, though Defendant knew or should have known that there
28                       were or another;
                                              37
                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 39 of 51 Page ID #:39



1              (c)   Advertising services with intent not to sell them as advertised;
2              (d)   Employing “bait and switch” advertising, which is advertising
3                    accompanied by an effort to sell goods, services, or property other
4                    than those advertised or on terms other than those advertised; and
5              (e)   Failing to disclose material information concerning its services
6                    which was known at the time of an advertisement or sale when the
7                    failure to disclose the information was intended to induce the
8                    consumer to enter into the transaction.
9        171. Defendant’s deceptive trade practices include:
10             (a)   Failing to implement and maintain reasonable security and
11                   privacy measures to protect Plaintiff and Colorado Class
12                   Members’ Private Information and other data, which was a
13                   direct and proximate cause of the Data Breach;
14             (b)   Failing to identify and remediate foreseeable security and
15                   privacy risks and adequately improve security and privacy
16                   measures despite knowing the risk of cybersecurity incidents;
17             (c)   Failing to comply with common law and statutory duties
18                   pertaining to the security and privacy of Plaintiff and
19                   Colorado Class Members’ Private Information and other
20                   data, including duties imposed by the FTC Act, 15 U.S.C.
21                   § 45, which was a direct and proximate cause of the Data
22                   Breach;
23             (d)   Misrepresenting that they would protect the privacy and
24                   confidentiality of Plaintiff and Colorado Class Members’
25                   Private Information and other data, including by
26                   implementing and maintaining reasonable security measures;
27             (e)   Misrepresenting that they would comply with common law
28                   and statutory duties pertaining to the security and privacy of
                                         38
                               CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 40 of 51 Page ID #:40



1                       Plaintiff and Colorado Class Members’ Private Information
2                       and other data, including duties imposed by the FTC Act, 15
3                       U.S.C. § 45;
4                 (f)   Omitting, suppressing, and concealing the material fact that it
5                       did not reasonably or adequately secure Plaintiff and
6                       Colorado Class Members’ Private Information and other
7                       data; and
8                 (g)   Omitting, suppressing, and concealing the material fact that
9                       they did not comply with common law and statutory duties
10                      pertaining to the security and privacy of Plaintiff and
11                      Colorado Class Members’ Private Information and other
12                      data, including duties imposed by the FTC Act, 15 U.S.C.
13                      § 45.
14         172. Defendant’s representations and omissions were material because they
15   were likely to deceive reasonable consumers about the adequacy of Illuminate’s data
16   security and ability to protect the confidentiality of consumers’ Private Information
17   and other data.
18         173. Defendant intended to mislead Plaintiff and Colorado Class Members and
19   induce them to rely upon its misrepresentations and omissions.
20         174. Defendant acted intentionally, knowingly, and maliciously to violate
21   Colorado’s Consumer Protection Act, and recklessly disregarded Plaintiff and
22   Colorado Class Members’ rights. Defendant was on notice that its security and privacy
23   protections were inadequate.
24         175. Defendant’s deceptive trade practices significantly impact the public,
25   because many members of the public are actual or potential users of Defendant’s
26   services and the Breach affected millions of students and former students, including
27   members of the Colorado Class.
28
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 41 of 51 Page ID #:41



1          176. As a direct and proximate result of Defendant’s violation of Colo. Rev.
2    Stat. §§ 6-1-101, et seq., Plaintiff and Colorado Class Members’ Private Information
3    and other data were disclosed to third parties without authorization, causing and will
4    continue to cause Plaintiff and Colorado Class Members damages.
5          177. As a direct and proximate result of Defendant’s violation of Colo. Rev.
6    Stat. §§ 6-1-101, et seq., Plaintiff and Colorado Class Members have suffered, and
7    continue to suffer, injuries, damages arising from identify theft; from their needing to
8    contact agencies administering benefits; potentially defending themselves from legal
9    action base upon fraudulent applications for benefits made in their name; contacting
10   their financial institutions; loss of use of funds; closing or modifying financial
11   accounts; damages from lost time and effort to mitigate the actual and potential impact
12   of the data breach on their lives; closely reviewing and monitoring their accounts for
13   unauthorized activity which is certainly impending; placing credit freezes and credit
14   alerts with credit reporting agencies; and damages from identify theft, which may take
15   months or years to discover and detect.
16         178. Plaintiff and Colorado Class Members seek all monetary and non-
17   monetary relief allowed by law, including the greater of: (a) actual damages, or (b)
18   $500, or (c) three times actual damages; injunctive relief; and reasonable attorneys’
19   fees and costs.
20         179. The above constitutes violation of Colo. Rev. Stat. §§ 6-1-101, et seq.
21
     FOURTEENTH CAUSE OF ACTION FOR VIOLATION OF CONNECTICUT
22      BREACH OF SECURITY REGARDING COMPUTERIZED DATA,
23                           C.G.S.A. § 36a-701b
              (On behalf of Plaintiff and the Connecticut Class)
24
25         180. The Plaintiff repeats, reiterates and realleges each and every allegation
26   set forth in the preceding paragraphs above as if set forth in full herein.
27         181. Defendant is required to accurately notify Plaintiff and Connecticut Class
28   Members if it becomes aware of a breach of its data security program in the most
                                              40
                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 42 of 51 Page ID #:42



1    expedient time possible and without unreasonable delay, not to exceed ninety days
2    after discovery of the breach under C.G.S.A. § 36a-701b(b).
3          182.   Defendant is required to immediately notify Plaintiff and Connecticut
4    Class Members if it becomes aware of a breach of its data security program which
5    may have compromised personal information it stores, but which Plaintiff and
6    Connecticut Class Members own, under C.G.S.A. § 36a-701b(c).
7          183. Because Defendant was aware of a breach of its security system, it had an
8    obligation to disclose the data breach in a timely and accurate fashion as mandated by
9    C.G.S.A. §§ 36a-701b(b) and (c).
10         184. By failing to disclose the Data Breach in an accurate and timely manner,
11   Defendant failed to comply with C.G.S.A. §§ 36a-701b(b) and (c). Pursuant to
12   C.G.S.A. § 36a-701b(g), Defendant’s failure to comply was an unfair trade practice
13   under the Connecticut Unfair Trade Practices Act, C.G.S.A. §§ 42-110a, et seq.
14         185. As a direct and proximate result of Defendant’s violation of C.G.S.A. §
15   36a-701b(b), Plaintiff and Connecticut Class Members have suffered, and continue to
16   suffer, injuries, damages arising from identify theft; from their needing to contact
17   agencies administering benefits; potentially defending themselves from legal action
18   base upon fraudulent applications for benefits made in their name; contacting their
19   financial institutions; loss of use of funds; closing or modifying financial accounts;
20   damages from lost time and effort to mitigate the actual and potential impact of the
21   data breach on their lives; closely reviewing and monitoring their accounts for
22   unauthorized activity which is certainly impending; placing credit freezes and credit
23   alerts with credit reporting agencies; and damages from identify theft, which may take
24   months or years to discover and detect.
25         186. Plaintiff and Connecticut Class Members seek all monetary and non-
26   monetary relief allowed by law, including actual damages, punitive damages,
27   disgorgement of profits, reasonable costs, and attorney’s fees.
28
                                             41
                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 43 of 51 Page ID #:43



1          187. In compliance with Connecticut General Statutes § 42-110g(c), a copy of
2    this Complaint is being contemporaneously mailed to the Attorney General of the
3    State of Connecticut and the Commissioner of Consumer Protection.
4          188. The above constitutes violation of C.G.S.A. § 36a-701b(b).
5
         FIFTEENTH CAUSE OF ACTION FOR VIOLATION OF NEW YORK
6                       GENERAL BUSINESS LAW §349
                  (On behalf of Plaintiff and the New York Class)
7
8          189. The Plaintiff repeats, reiterates and realleges each and every allegation
9    set forth in the preceding paragraphs above as if set forth in full herein.
10         190. Defendant engaged in deceptive, unfair, and unlawful trade acts or
11   practices in the conduct of trade or commerce and furnishing of services, in violation
12   of N.Y. Gen. Bus. Law § 349(a), including but not limited to the following:
13                (a)    Defendant misrepresented material facts to Plaintiff and Class
14                       Members by representing that they would maintain adequate data
15                       privacy and security practices and procedures to safeguard Plaintiff
16                       and New York Class members’ Private Information and other data
17                       from unauthorized disclosure, release, data breaches, and theft;
18                (b)    Defendant misrepresented material facts to Plaintiff and New York
19                       Class Members by representing that they did and would comply
20                       with the requirements of federal and state laws pertaining to the
21                       privacy and security of Plaintiff and New York Class Members’
22                       Private Information and other data;
23                (c)    Defendant omitted, suppressed, and concealed material facts of the
24                       inadequacy of its privacy and security protections for Plaintiff and
25                       New York Class Members’ Private Information and other data;
26                (d)    Defendant engaged in deceptive, unfair, and unlawful trade acts or
27                       practices by failing to maintain the privacy and security of Plaintiff
28                       and New York Class members’ Private Information and other data,
                                              42
                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 44 of 51 Page ID #:44



1                        in violation of duties imposed by and public policies reflected in
2                        applicable federal and state laws, resulting in the Data Breach.
3                        These unfair acts and practices violated duties imposed by laws
4                        including the Federal Trade Commission Act (15 U.S.C. § 45);
5                 (e)    Defendant engaged in deceptive, unfair, and unlawful trade acts or
6                        practices by failing to disclose the Data Breach to the Class in a
7                        timely and accurate manner, contrary to the duties imposed by
8                        N.Y. Gen. Bus. Law §§ 899-aa(2) and 899-bb (SHIELD Act).
9          191. Defendant’s failure constitutes false and misleading representations,
10   which have the capacity, tendency, and effect of deceiving or misleading consumers
11   (including Plaintiff and New York Class Members) regarding the security of its
12   network and aggregation of Private Information and other data.
13         192. The misrepresentations upon which consumers (including Plaintiff and
14   New York Class Members) relied were material misrepresentations (e.g., as to
15   Defendant’s adequate protection of Private Information and other data), and
16   consumers (including Plaintiff and New York Class Members) relied on those
17   representations to their detriment.
18         193. Defendant’s conduct is unconscionable, deceptive, and unfair, as it is
19   likely to, and did, mislead consumers acting reasonably under the circumstances. As a
20   direct and proximate result of Defendant’s conduct, Plaintiff and New York Class
21   Members have been harmed, in that they were not timely notified of the Data Breach,
22   which resulted in profound vulnerability of their Private Information and other data.
23         194. As a direct and proximate result of Defendant’s unconscionable, unfair,
24   and deceptive acts and omissions, Plaintiff and New York Class Members’ Private
25   Information and other data were disclosed to third parties without authorization,
26   causing and will continue to cause Plaintiff and New York Class Members damages.
27         195. As a direct and proximate result of Defendant’s violation of NY GBL
28   §349, Plaintiff and New York Class Members have suffered, and continue to suffer,
                                             43
                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 45 of 51 Page ID #:45



1    injuries, damages arising from identify theft; from their needing to contact agencies
2    administering unemployment benefits; potentially defending themselves from legal
3    action base upon fraudulent applications for unemployment benefits made in their
4    name; contacting their financial institutions; loss of use of funds; closing or modifying
5    financial accounts; damages from lost time and effort to mitigate the actual and
6    potential impact of the data breach on their lives; closely reviewing and monitoring
7    their accounts for unauthorized activity which is certainly impending; placing credit
8    freezes and credit alerts with credit reporting agencies; and damages from identify
9    theft, which may take months or years to discover and detect.
10            196. Plaintiff and New York Class Members seek all monetary and non-
11   monetary relief allowed by law, injunctive relief, and reasonable attorneys’ fees and
12   costs.
13            197. The above constitutes violation of NY GBL §349.
14
                     SIXTEENTH CAUSE OF ACTION FOR VIOLATION
15                        OF NEW YORK EDUCATION LAW §2-d
                        (On behalf of Plaintiff and the New York Class)
16
17            198. The Plaintiff repeats, reiterates and realleges each and every allegation
18   set forth in the preceding paragraphs above as if set forth in full herein.
19            199. New York Education Law §2-d(5)(f) provides that:
20                  (a)    Each third party contractor that enters into a contract or other
21                         written agreement with an educational agency under which
22                         the third party contractor will receive student data or teacher
23                         or principal data shall:
24                         (i)   limit internal access to education records to those
25                               individuals that are determined to have legitimate
26                               educational interests; not use the education records for any
27                               other purposes than those explicitly authorized in its
28                               contract;
                                               44
                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 46 of 51 Page ID #:46



1                (b)    except for authorized representatives of the third party
2                       contractor to the extent they are carrying out the contract, not
3                       disclose any personally identifiable information to any other
4                       party:
5                       (i)      without the prior written consent of the parent or eligible
6                                student; or
7                       (ii)     unless required by statute or court order and the party
8                                provides a notice of the disclosure to the department, district
9                                board of education, or institution that provided the
10                               information no later than the time the information is
11                               disclosed, unless providing notice of the d4isclosure is
12                               expressly prohibited by the statute or court order;
13               (c)    maintain reasonable administrative, technical and physical
14                      safeguards to protect the security, confidentiality and
15                      integrity of personally identifiable student information in its
16                      custody;
17               (d)    uses encryption technology to protect data while in motion or
18                      in its custody from unauthorized disclosure using a
19                      technology or methodology specified by the secretary of the
20                      United States department of health and human services in
21                      guidance issued under Section 13402(H)(2) of Public Law
22                      111-5.
23         200. New York Education Law §2-d(6)(a) provides that, in the case of the
24   breach and unauthorized release of Private Information:
25               (a)    Each third party contractor that receives student data or teacher or
26                      principal data pursuant to a contract or other written agreement
27                      with an educational agency shall be required to notify such
28                      educational agency of any breach of security resulting in an
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                                    CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 47 of 51 Page ID #:47



1                       unauthorized release of such data by the third party contractor or
2                       its assignees in violation of applicable state or federal law, the
3                       parents bill of rights for student data privacy and contractual
4                       obligations relating to data privacy and security, in the most
5                       expedient way possible and without unreasonable delay [emphasis
6                       added].
7          201. New York Education Law §2-d(6)(a) provides that, in the case of the
8    breach and unauthorized release of Private Information:
9                 (a)   In the case of an unauthorized release of student data,
10                      the educational agency shall notify the parent or
11                      eligible student of the unauthorized release of student
12                      data that includes personally identifiable information
13                      from the student records of such student in the most
14                      expedient way possible and without unreasonable
15                      delay [emphasis added].
16         202. Defendant has violated New York Education Law §2-d by virtue of its
17   inordinate and unreasonable delay in notifying school districts and parents of Plaintiff
18   and New York Class members of its Data Breach, of which it was fully aware.
19         203. As a direct and proximate result of Defendant’s violation of NY GBL
20   §349, Plaintiff and New York Class Members have suffered, and continue to suffer,
21   injuries, damages arising from identify theft; from their needing to contact agencies
22   administering unemployment benefits; potentially defending themselves from legal
23   action base upon fraudulent applications for unemployment benefits made in their
24   name; contacting their financial institutions; loss of use of funds; closing or modifying
25   financial accounts; damages from lost time and effort to mitigate the actual and
26   potential impact of the data breach on their lives; closely reviewing and monitoring
27   their accounts for unauthorized activity which is certainly impending; placing credit
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                                   CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 48 of 51 Page ID #:48



1    freezes and credit alerts with credit reporting agencies; and damages from identify
2    theft, which may take months or years to discover and detect.
3             204. Plaintiff and New York Class Members seek all monetary and non-
4    monetary relief allowed by law, injunctive relief, and reasonable attorneys’ fees and
5    costs.
6             205. The above constitutes violation of NY Education Law §2-d.
7
      SEVENTEENTH CAUSE OF ACTION FOR VIOLATION OF OKLAHOMA
8                    CONSUMER PROTECTION ACT,
9                      Okla. Stat. Tit. 15, §§ 751, et seq.
                (On behalf of Plaintiff and the Oklahoma Class)
10
11            206. The Plaintiff repeats, reiterates and realleges each and every allegation
12   set forth in the preceding paragraphs above as if set forth in full herein.
13            207. Defendant, in the course of its business, engaged in unlawful practices in
14   violation of Okla. Stat. tit. 15, § 753, including the following:
15                  (a)    Making false or misleading representations, knowingly or with
16                         reason to know, as to the characteristics, uses, and benefits of the
17                         subjects of its consumer transactions;
18                  (b)    Representing, knowingly or with reason to know, that the subjects
19                         of its consumer transactions were of a particular standard when
20                         they were of another;
21                  (c)    Advertising, knowingly or with reason to know, the subjects of its
22                         consumer transactions with intent not to sell as advertised;
23                  (d)    Committing deceptive trade practices that deceived or could
24                         reasonably be expected to deceive or mislead a person to the
25                         detriment of that person as defined by section 752(13);
26                  (e)    Committing unfair trade practices that offend established public
27                         policy and was immoral, unethical, oppressive, unscrupulous, and
28                         substantially injurious to consumers as defined by section 752(14).
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                                     CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 49 of 51 Page ID #:49



1        208. Defendant’s unlawful practices include:
2              (a)   Failing to implement and maintain reasonable security and privacy
3                    measures to protect Plaintiff and Oklahoma Class Members’
4                    Private Information and other data, which was a direct and
5                    proximate cause of the Data Breach;
6              (b)   Failing to identify and remediate foreseeable security and privacy
7                    risks and adequately improve security and privacy measures
8                    despite knowing the risk of cybersecurity incidents, which was a
9                    direct and proximate cause of the Data Breach;
10             (c)   Failing to comply with common law and statutory duties pertaining
11                   to the security and privacy of Plaintiff and Oklahoma Class
12                   Members’ Private Information and other data, including duties
13                   imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and
14                   proximate cause of the Data Breach;
15             (d)   Misrepresenting that they would protect the privacy and
16                   confidentiality of Plaintiff and Oklahoma Class Members’ Private
17                   Information and other data, including by implementing and
18                   maintaining reasonable security measures;
19             (e)   Misrepresenting that they would comply with common law and
20                   statutory duties pertaining to the security and privacy of Plaintiff
21                   and Oklahoma Class Members’ Private Information and other
22                   data, including duties imposed by the FTC Act, 15 U.S.C. § 45;
23             (f)   Omitting, suppressing, and concealing the material fact that it did
24                   not reasonably or adequately secure Plaintiff and Oklahoma Class
25                   Members’ Private Information and other data; and
26             (g)   Omitting, suppressing, and concealing the material fact that they
27                   did not comply with common law and statutory duties pertaining to
28                   the security and privacy of Plaintiff and Oklahoma Class
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                               CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 50 of 51 Page ID #:50



1                          Members’ Private Information, including duties imposed by the
2                          FTC Act, 15 U.S.C. §
3             209. Defendant’s representations and omissions were material because they
4    were likely to deceive reasonable consumers about the adequacy of Illuminate’s data
5    security and ability to protect the confidentiality of consumers’ Private Information
6    and other data.
7             210. Defendant intended to mislead Plaintiff and Oklahoma Class Members
8    and induce them to rely on its misrepresentations and omissions.
9             211. As a direct and proximate result of Defendant’s violation of the
10   Oklahoma Consumer Protection Act, Plaintiff and Oklahoma Class Members have
11   suffered, and continue to suffer, injuries, damages arising from identify theft; from
12   their needing to contact agencies administering unemployment benefits; potentially
13   defending themselves from legal action base upon fraudulent applications for
14   unemployment benefits made in their name; contacting their financial institutions; loss
15   of use of funds; closing or modifying financial accounts; damages from lost time and
16   effort to mitigate the actual and potential impact of the data breach on their lives;
17   closely reviewing and monitoring their accounts for unauthorized activity which is
18   certainly impending; placing credit freezes and credit alerts with credit reporting
19   agencies; and damages from identify theft, which may take months or years to
20   discover and detect.
21            212. Plaintiff and Oklahoma Class Members seek all monetary and non-
22   monetary relief allowed by law, injunctive relief, and reasonable attorneys’ fees and
23   costs.
24            The above constitutes violation of Okla. Stat. tit. 15, § 753.
25                                     PRAYER FOR RELIEF
26            WHEREFORE, Plaintiff, individually and on behalf of the members of the
27   Classes defined above, respectfully request that this Court:
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                                      CLASS ACTION COMPLAINT
Case 8:22-cv-01164-JVS-ADS Document 1 Filed 06/14/22 Page 51 of 51 Page ID #:51



1               A.     Certify this case as a class action under Federal Rule
2                      of Civil Procedure 23, appoint Plaintiff as the Class
3                      representatives, and appoint the undersigned as Class
4                      counsel;
5               B.     Order appropriate relief to Plaintiff and the Classes;
6                      Enter injunctive and declaratory relief as appropriate
7                      under the applicable law;
8               C.     Award Plaintiff and the Classes pre-judgment and/or
9                      post-judgment interest as prescribed by law;
10              D.     Award reasonable attorneys’ fees and costs as
11                     permitted by law; and
12              E.     Enter such other and further relief as may be just and
13                     proper.
14                               DEMAND FOR JURY TRIAL
15        Plaintiff hereby demands a trial by jury of all claims so triable.
16
17   DATED: June 14, 2022                  Respectfully submitted,

18                                         GREEN & NOBLIN, P.C.
19
20
21                                         By:     /s/ Robert S. Green
                                                   Robert S. Green
22
23                                               James Robert Noblin
                                                 Emrah M. Sumer
24                                               2200 Larkspur Landing Circle, Ste. 101
25                                               Larkspur, CA 94939
                                                 Telephone: (415) 477-6700
26                                               Facsimile: (415) 477-6710
27
                                                 Counsel for Plaintiff and the Proposed
28                                               Class
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                                  CLASS ACTION COMPLAINT
